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     EXHIBIT A
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BLUME, FORTE, FRIED,
ZERRES & MOLINARI, P.C.
A Professional Corporation
By: Harris S. Feldman, Esq.    ID#010712003
One Main Street
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Attorneys for Plaintiff
_________________________________
YOHANNY POLANCO-MITAROTONDA and    SUPERIOR COURT OF NEW JERSEY
NICOLA MITAROTONDA, her husband, LAW DIVISION – ESSEX COUNTY
                                   DOCKET NO.: ESX-L-
           Plaintiffs,
                                              CIVIL ACTION
               vs.
                                        COMPLAINT, JURY DEMAND,
CONAGRA BRANDS, INC., BJ’S           DESIGNATION OF TRIAL COUNSEL,
WHOLESALE CLUB, INC., NICHOLAS            DEMAND FOR INSURANCE
SEGEDIN, JOHN DOE 1-10 (a               INFORMATION, DEMAND FOR
fictitious name representing             DOCUMENTS, DEMAND FOR
managers or employees that were      INTERROGATORIES, REJECTION OF
responsible for the ordering,       ANY NOTICES OF ALLOCATION, AND
stocking, marketing and/or sales             CERTIFICATION
of products), ABC CORP. 1-10 (a
fictitious name representing a
class of fictitious defendants
who designed, manufactured,
assembled, marketed or sold the
product or a component of the
product), XYZ CORP. 1-10 (a
fictitious name representing a
class of fictitious defendants
who sold, distributed or
advertised the product),

               Defendants.


      Plaintiffs,        YOHANNY      POLANCO-MITAROTONDA          and     NICOLA

MITAROTONDA, residing at 91 Humboldt Street, in East Rutherford,

New Jersey, by way of Complaint says:
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                                     FIRST COUNT

        1.    On or about February 22, 2019, the plaintiff, YOHANNY

POLANCO-MITAROTONDA, was in her home at 91 Humboldt Street, East

Rutherford, New Jersey cooking on her stove.

        2.    While cooking, a can of Wellsley Farms Cooking Spray,

which plaintiff purchased at BJ’S WHOLESALE CLUB in Rutherford

New Jersey, released its contents which caught fire, and caused

serious and permanent injuries to YOHANNY POLANCO-MITAROTONDA,

including burns.

        3.    The explosion and the plaintiff’s injuries were caused

by defects in the Wellsley Farms Cooking Spray can, designed,

manufactured and distributed by CONAGRA BRANDS, INC., for BJ’S

WHOLESALE CLUB, INC.

        4.    “Wellsley Farms” is a brand name owned and operated by

BJ’S WHOLESALE CLUB, INC., for the purpose of selling products

manufactured by other companies in physical BJ’s Wholesale Club

stores and on BJ’s Wholesale Club online store as well as other

online retailers across the State of New Jersey and Essex County.

        5.    At   all times     relevant    to this     complaint,     Defendant

CONAGRA FOODS, INC. was a Delaware corporation with its principal

place    of    business    in    Chicago,   Illinois.     It   is   currently    a

registered trade name for Defendant CONAGRA BRANDS, INC.

        6.    At   all   times   relevant   to   this   complaint,      Defendant

CONAGRA BRANDS, INC. was a Delaware corporation with its principal
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place of business in Chicago, Illinois. It was formerly known as

CONAGRA FOODS, INC.

      7.     Defendant    CONAGRA    BRANDS,     INC.     is    the    successor     in

interest to CONAGRA FOODS, INC.

      8.    At all times relevant to this complaint, CONAGRA BRANDS,

INC. and/or CONAGRA FOODS, INC., did continually conduct business

across the State of New Jersey including Essex County, making venue

proper here.

      9.     Defendant    BJ’S    WHOLESALE CLUB,         INC.,       is a    Delaware

corporation     with    headquarters      located    at    25     Research     Drive,

Westborough, Massachusetts, and does business throughout the State

of New Jersey through its physical stores, as well as through its

online sales of the Wellsley Farms brand, in particular in Essex

County making venue proper here.

      10.    Defendant BJ’S WHOLESALE CLUB, INC., did and continues

to operate a BJ’s Wholesale Club at 300 Route 17 North, East

Rutherford,     New    Jersey    where   plaintiff      purchased       the    can   of

Wellsley Farms Cooking Spray.

      11.     Defendant NICHOLAS SEGEDIN and/or JOHN DOE 1-10 (a

fictitious    name     representing      managers   or    employees       that    were

responsible for the ordering, stocking, marketing and/or sales of

products) were at the relevant times employed by BJ’s Wholesale

Club at 300 Route 17 North, East Rutherford, New Jersey and is a

resident of the State of New Jersey, were responsible for the
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ordering, stocking, marketing and sale of the can of Wellsley Farms

Cooking Spray.

      12.   As a direct result of defects in the product designed,

manufactured, sold and/or marketed by said defendants, plaintiff

sustained     serious,     painful     and    permanent     injuries      on     the

aforementioned date, will in the future experience great pain and

suffering, was caused to incur expenses for medical care and

attention, will in the future incur additional expenses, has lost

physical ability, time from work in the past and future, and has

in the past, and will in the future, lose her right to the full

enjoyment of life.

      WHEREFORE, plaintiffs, demand judgment for damages against

defendant(s) CONAGRA BRANDS, INC., BJ’S WHOLESALE CLUB, INC.,

NICHOLAS SEGEDIN, JOHN DOE 1-10, ABC CORP. 1-10, XYZ CORP. 1-10,

together with interest and costs of suit.

                                     SECOND COUNT

      1.    Plaintiffs repeat each and every allegation of the prior

counts as though set forth herein at length and make them a part

hereof.

      2.    At   all    times   relevant     to   the   allegations      in      this

complaint, Defendants were and are in the business of designing,

manufacturing, assembling, testing, filling, labeling, advertising

and promoting the sale of various food brands, including WELLSLEY

FARMS Cooking Spray.
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      3.    Defendants      designed,      manufactured,      tested,         filled,

labeled and/or sold the canister of WELLSLEY FARMS Cooking Spray

that exploded and is at issue in this case.

      4.    The canister of WELLSLEY FARMS Cooking Spray at issue

was designed and manufactured with u-shaped vents on the domed

bottom of the canister that were designed to open when the can

buckled or when the bottom of the canister became convex instead

of concave.

      5.    The canister of WELLSLEY FARMS Cooking Spray at issue

was designed and manufactured so that when the can deformed and

the u-shaped vents on the bottom of the canister opened, the

internal contents of the canister would release through the vents

and the pressure inside the can would be reduced.

      6.    The contents of the canister of WELLSLEY FARMS Cooking

Spray at issue included not only cooking oil, but also propellants,

including    extremely     flammable     materials     such    as    propane     and

butane.

      7.    Defendants      designed,      manufactured,      tested,         filled,

labeled, promoted and/or sold WELLSLEY FARMS Cooking Spray for use

in   consumer     and   commercial      kitchens     as    well     as   in    other

environments such as cookouts and grilling.

      8.    The   WELLSLEY FARMS       Cooking     Spray   reached       Plaintiffs

without substantial change in its condition and was stored and
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used in a reasonably foreseeable manner at the time and prior to

the incident in question.

      9.     The   canister    of    WELLSLEY    FARMS    Cooking    Spray    began

spraying its extremely flammable contents through the u-shaped

vents on the bottom of the can and exploded into flames, causing

burns and injuries to Plaintiff and igniting a fire.

      10.    The   WELLSLEY    FARMS    Cooking    Spray    did     not    meet   the

consumer    expectations      of    reasonably    foreseeable       users    of   the

product including the plaintiff.

      11.    WHEREFORE,     plaintiffs,      demand      judgment    for    damages

against defendant(s) CONAGRA BRANDS, INC., BJ’S WHOLESALE CLUB,

INC., NICHOLAS SEGEDIN, JOHN DOE 1-10, ABC CORP. 1-10, XYZ CORP.

1-10, together with interest and costs of suit.



                                    THIRD COUNT

      1.    Plaintiffs repeat each and every allegation of the prior

counts as though set forth herein at length and makes them a part

hereof.

      2.     Defendants have a duty to place into the stream of

commerce,    manufacture, test,        fill,     label,    distribute,      market,

promote, and sell WELLSLEY FARMS Cooking Spray and products that

are not defective, unsafe and unreasonably dangerous when put to

the use for which it was designed, manufactured, distributed,

marketed, and sold.
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        3.     Defendants did in fact design, manufacture, test, fill,

label, market, promote, supply, distribute and/or sell WELLSLEY

FARMS Cooking Spray to consumers, including Plaintiffs.

        4.     Defendants expected the WELLSLEY FARMS Cooking Spray it

was     designing,       manufacturing,      filling,      testing,      labeling,

marketing,      promoting,     supplying,     distributing      and   selling     to

reach, and it did in fact reach, consumers in multiple states,

including Plaintiffs, without substantial change in the condition.

        5.     At the time the WELLSLEY FARMS Cooking Spray left the

possession of Defendants and the time the WELLSLEY FARMS Cooking

Spray entered the stream of commerce, the WELLSLEY FARMS Cooking

Spray    was    in   a   defective,    unsafe    and   unreasonably      dangerous

condition.      These    defects include      but are     not   limited     to the

following:

        a.     The WELLSLEY FARMS Cooking Spray contains vents, metal
               thickness and other design features that make the
               container capable of releasing its contents under
               conditions where other cooking spray can designs do not
               have such risk;

        b.     The WELLSLEY FARMS Cooking Spray was capable of
               releasing its contents at temperatures and     pressures
               lower than Defendants’ specifications and/or performance
               standards allow;

        c.     The WELLSLEY FARMS Cooking Spray was capable of
               releasing its contents at temperatures and pressures
               lower than Defendants’ other cooking spray can designs;

        d.     The WELLSLEY FARMS Cooking Spray was capable of
               releasing dangerous contents when other cooking spray
               can designs do not have such risk;
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      e.    The WELLSLEY FARMS Cooking Spray used flammable and
            dangerous propellants that posed an unreasonable and
            unnecessary danger when other propellants do not have
            such risk;

      f.    The WELLSLEY FARMS Cooking Spray was not designed to
            withstand temperatures to which the WELLSLEY FARMS
            Cooking Spray container will foreseeably to be exposed
            during use and/or storage;

      g.    The WELLSLEY FARMS Cooking Spray releases its contents
            in an uncontrolled and rapid manner posing an
            unreasonable and unnecessary danger when other cooking
            spray can designs do not have such risk;

      h.    The WELLSLEY FARMS Cooking Spray releases its contents
            simultaneously with the can everting which poses an
            unreasonable and unnecessary danger and no warning to
            those in its vicinity when other cooking spray can
            designs do not have such risk;

      i.    Safer alternative cooking spray can designs existed that
            do not present the same risks associated with the
            WELLSLEY FARMS Cooking Spray;

      j.    Any alleged benefits of the WELLSLEY FARMS Cooking Spray
            are outweighed by the risks of the WELLSLEY FARMS
            Cooking Spray releasing their dangerous contents;

      k.    The dangers associated with the WELLSLEY FARMS Cooking
            Spray outweigh any alleged utility in the WELLSLEY FARMS
            Cooking Spray’s design. The nature and magnitude of the
            risk of the can venting and causing a fire was high in
            light of the intended and reasonably foreseeable uses of
            the products in and around heat sources in the kitchen,
            including stoves;

      l.    The likelihood that product users were aware of this
            risk was low, given that the product was designed and
            advertised to be used around stoves, and had no adequate
            warnings about possible dangers of doing so;

      m.    The likelihood of the WELLSLEY FARMS Cooking Spray
            causing and/or contributing to a fire due to venting was
            high in light of the intended and reasonably foreseeable
            use of the WELLSLEY FARMS Cooking Spray product around
            stoves and other heating sources;
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       n.    The flammability of the WELLSLEY FARMS Cooking Spray
             product’s ingredients and the WELLSLEY FARMS Cooking
             Spray product’s risk of venting were more dangerous than
             a reasonably prudent consumer would expect when used in
             the intended and reasonably foreseeable manner of
             cooking;

       o.    At the time it left the control of the manufacturer, in
             the state of technical and scientific knowledge,
             reasonable and safer alternative designs were available
             with respect to the flammability of the ingredients, and
             alternative can designs would have prevented the venting
             event   and   the   injuries  in   this   case   without
             substantially impairing the usefulness of the intended
             purposes of the product; and

       p.    Were otherwise defective, unsafe and unreasonably
             dangerous and did not meet foreseeable consumer’s
             expectations.


       6.    Upon information and belief, prior to the incident set

 forth herein, Defendants were aware of DOT-2Q vented cooking spray

 containers releasing their contents at lower temperatures than is

 allowed by the manufacturing specifications and tolerances.

       7.    Upon information and belief, prior to the incident set

 forth herein, Defendants were aware of DOT-2Q vented cooking spray

 containers releasing their contents at lower pressure than is

 allowed by the manufacturing specifications and tolerances.

       8.    Upon information and belief, prior to the incident set

 forth herein, Defendants were aware of DOT-2Q vented cooking spray

 containers releasing their contents at lower temperatures than

 other cooking spray can designs.
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         9.    Upon information and belief, prior to the incident set

 forth herein, Defendants were aware of DOT-2Q vented cooking spray

 containers releasing their contents at lower pressure than other

 cooking spray can designs.

         10.   Upon information and belief, prior to the incident set

 forth herein, Defendants were aware of DOT-2Q vented cooking spray

 containers releasing their contents during reasonably foreseeable

 uses.

         11.   At all times relevant to this complaint, Plaintiffs used

 the WELLSLEY FARMS Cooking Spray for its intended purpose, i.e.

 cooking spray, and stored it foreseeably and appropriately. There

 was no other reasonable cause of the WELLSLEY FARMS Cooking Spray’s

 failure to properly perform other than the WELLSLEY FARMS Cooking

 Spray product being defective.

         12.   Plaintiffs could not have discovered any defect in the

 WELLSLEY FARMS Cooking Spray through the exercise of due care.

         13.   Defendants,    as    designers,      manufacturers,       fillers,

 researchers, testers, inspectors, marketers, promoters, suppliers,

 distributors and sellers of food products are strictly liable for

 defects in design, manufacture, marketing, failure to warn and

 failure to recall.

         14.   Plaintiffs did not have substantially the same knowledge

 regarding the dangers of the WELLSLEY FARMS Cooking Spray as the

 designers,       manufacturers,       fillers,       researchers,       testers,
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 inspectors,    marketers,       promoters,       suppliers,   distributors       and

 sellers.

        15.   Defendants     in        directly    designing,     manufacturing,

 filling, researching, testing, inspecting, marketing, promoting,

 supplying,    distributing,      and/or selling its           product, WELLSLEY

 FARMS Cooking Spray, to Plaintiffs did so without adequate warning

 regarding the hazardous potential of its product.

        16.   Due to the conduct of the Defendants, the WELLSLEY FARMS

 Cooking Spray canister exploded, and Plaintiff YOHANNY POLANCO-

 MITAROTONDA    was    caused     to    suffer    and   sustain   injuries    of    a

 permanent nature including, but not limited to, burns, scarring,

 and disfigurement. Plaintiffs also suffered great pain and anguish

 in both mind and body.           Plaintiffs were hindered and prevented

 from    Plaintiffs’     usual     and     customary     duties    and   affairs.

 Plaintiffs will be in the future caused to endure great pain,

 suffering and disability and has expended and become liable for

 substantial sums of medical care and services while endeavoring to

 become cured and healed of said injuries and will continue to

 expend and become liable for additional costs for future medical

 treatment. Plaintiffs were also caused to lose earnings and will

 continue to lose earnings. Furthermore, Plaintiffs were unable to

 and will in the future be unable to attend to Plaintiffs’ normal

 affairs and duties for an indefinite period of time.
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       17.    Pursuant   to   N.J.S.A.     2A:58-C,    et   seq.,    (New   Jersey

 Products Liability Act) Plaintiffs assert all claims and causes of

 action against the Defendants, including, but not limited to,

 breach of express warranties, strict liability, all claims and

 causes of actions pertaining to design, manufacture, sale and

 distribution of the defective WELLSLEY FARMS Cooking Spray which

 was not reasonably fit, suitable or safe for its intended purpose

 as it was defectively designed, manufactured, and/or failed to

 contain adequate warnings and/or instructions.

       WHEREFORE, plaintiffs, demand judgment for damages against

 defendant(s) CONAGRA BRANDS, INC., BJ’S WHOLESALE CLUB, INC.,

 NICHOLAS SEGEDIN, JOHN DOE 1-10, ABC CORP. 1-10, XYZ CORP. 1-10,

 together with interest and costs of suit.



                                  FOURTH COUNT

       1.    Plaintiffs repeat each and every allegation of the prior

 counts as though set forth herein at length and makes them a part

 hereof.

       2.     Pursuant to N.J.S.A. 2A:58C-2, the Defendants are liable

 to the Plaintiffs because the defendant’s design did not comply

 with express warranties, in that the product designed, was not fit

 for the uses it was advertised.

       WHEREFORE, plaintiffs, demand judgment for damages against

 defendant(s) CONAGRA BRANDS, INC., BJ’S WHOLESALE CLUB, INC.,
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 NICHOLAS SEGEDIN, JOHN DOE 1-10, ABC CORP. 1-10, XYZ CORP. 1-10,

 together with interest and costs of suit.

                                   FIFTH COUNT

       1.   Plaintiffs repeat each and every allegation of the prior

 counts as though set forth herein at length and makes them a part

 hereof.

       2. At all times relevant, it was the duty of Defendants to

 adequately, test, label, market, promote, supply, distribute

 and/or sell WELLSLEY FARMS Cooking Spray products such that they

 would be reasonably safe for their intended use and would

 conform with the reasonable expectations of users.

       3.    Defendants misrepresentations, failure to adequately

 warn, and protect from the dangers in its product includes but

 is not limited to the following:

             a.    Failed to appropriately inform users of the
                   dangers associated with the WELLSLEY FARMS
                   Cooking Spray;

             b.    Withheld and/or misrepresented material facts
                   regarding the WELLSLEY FARMS Cooking Spray’s
                   safety and fitness for use around stoves and
                   other heating sources when in fact they are not
                   safe for use in these areas;

             c.    Misrepresented material facts regarding the
                   WELLSLEY FARMS Cooking Spray’s safety by
                   withholding information regarding adverse events
                   and information about incidents of venting and
                   injury caused by the cans;

             d.    After receiving post-marketing incident
                   reports and/or testing data, Defendants knew, or
                   in the exercise of reasonable care, should have
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                   known that there was a significant risk of
                   venting, fire, and burn injuries associated with
                   the use and/or storage of the WELLSLEY FARMS
                   Cooking Spray product and failed to communicate
                   or warn users of this information;

             e.    Failed to halt the use of dangerous, flammable
                   and/or combustible propellants in WELLSLEY FARMS
                   Cooking Spray when it knew they were dangerous;

             f.    Continued to use dangerous, flammable and/or
                   combustible propellants in WELLSLEY FARMS Cooking
                   Spray in the United States when it knew they were
                   dangerous and had been prohibited from using the
                   same propellants in cooking spray containers
                   outside the United States;

             g.    Failed to provide warnings or instructions
                   concerning the risk of venting, risk of fire, and
                   risk of burn injuries, in light of the likelihood
                   that some users of the WELLSLEY FARMS Cooking
                   Spray product would use the product in the
                   kitchen and in close proximity to stoves, grills
                   and heat sources;

             h.    Inadequately designing the WELLSLEY FARMS Cooking
                   Spray warnings so that they fail to appropriately
                   inform users of the information necessary to
                   safely store and use the product without risk of
                   releasing contents or causing an explosion or
                   fire;

             i.    Failed to provide adequate warnings concerning
                   the risk of venting, risk of fire, and risk of
                   burn injuries;

             j.    Failed to provide adequate warnings concerning
                   the types of propellants in the WELLSLEY FARMS
                   Cooking Spray product including isobutane and
                   propane;

             k.    Failed to provide warnings or instructions
                   concerning the risk of venting, risk of fire, and
                   risk of burn injuries, in light of incident
                   reports that some people had suffered burn
                   injuries due to venting during ordinary use of
                   the WELLSLEY FARMS Cooking Spray product;
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             l.    Failed to provide adequate instructions to
                   persons cooking with and around their WELLSLEY
                   FARMS Cooking Spray products;

             m.    Failed to provide adequate instructions
                   concerning safe and/or safer methods of cooking
                   with and around WELLSLEY FARMS Cooking Spray
                   products;

             n.    Failed to conduct adequate testing on their
                   WELLSLEY FARMS Cooking Spray products to
                   determine the venting hazards to which consumers
                   and individuals such as Plaintiffs may be exposed
                   to while cooking with and/or around their
                   products;

             o.    Failed to monitor and analyze what post-marketing
                   reports observed with regard to individuals
                   cooking with and around WELLSLEY FARMS Cooking S
                   pray and/or substantially similar products;


       4.    Defendants knew or had reason to know that Plaintiffs,

 as members of the general public for whose use the WELLSLEY

 FARMS Cooking Spray was placed into interstate commerce, would

 be likely to use or be around the WELLSLEY FARMS Cooking Spray

 in a manner described in this Complaint.

       5.    Prior to the incident set forth herein, Defendants

 were aware of DOT-2Q vented cooking spray containers releasing

 their contents at lower temperatures than is allowed by the

 manufacturing specifications and tolerances.

       6.    Prior to the incident set forth herein, Defendants

 were aware of DOT-2Q vented cooking spray containers releasing
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 their contents at lower pressure than is allowed by the

 manufacturing specifications and tolerances.

       7.     Prior to the incident set forth herein, Defendants

 were aware of DOT-2Q vented cooking spray containers releasing

 their contents at lower temperatures than other cooking spray

 can designs.

       8.     Prior to the incident set forth herein, Defendants

 were aware of DOT-2Q vented cooking spray containers releasing

 their contents at lower pressure than other cooking spray can

 designs.

       9.    Prior to the incident set forth herein, Defendants were

 aware of DOT-2Q vented cooking spray containers releasing their

 contents during reasonably foreseeable uses

       10.    Defendants knew or reasonably should have known of the

 danger associated with the manner and circumstances of

 Plaintiffs’ presence in the vicinity of and/or foreseeable use

 of the WELLSLEY FARMS Cooking Spray, which danger would not be

 obvious to the general public.

       11.    Plaintiffs used the WELLSLEY FARMS Cooking Spray in a

 reasonably foreseeable manner.

       12.    Defendants, as designers, manufacturers, fillers,

 researchers, testers, inspectors, marketers, promoters,

 suppliers, distributors and sellers of food products are held to

 the level of knowledge of an expert in their field.
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       13.   Plaintiffs did not have substantially the same

 knowledge regarding the dangers of the WELLSLEY FARMS Cooking

 Spray as the designer, manufacturer, filler, researcher,

 inspector, marketer, promoter, supplier, distributor and seller:

 ConAgra Foods, Inc. and Conagra Brands, Inc.

       14.   As a direct and proximate cause of one or more of the

 foregoing acts or omissions by Defendants, the WELLSLEY FARMS

 Cooking Spray canister exploded and Plaintiff YOHANNY POLANCO-

 MITAROTONDA was caused to suffer and sustain injuries of a

 permanent nature including, but not limited to, burns, scarring,

 and disfigurement. Plaintiffs also suffered great pain and

 anguish in both mind and body. Plaintiffs were hindered and

 prevented from Plaintiffs’ usual and customary duties and

 affairs.    Plaintiffs will be in the future caused to endure

 great pain, suffering and disability and has expended and become

 liable for substantial sums of medical care and services while

 endeavoring to become cured and healed of said injuries and will

 continue to expend and become liable for additional costs for

 future medical treatment. Plaintiffs were also caused to lose

 earnings and will continue to lose earnings. Furthermore,

 Plaintiffs were unable to and will in the future be unable to

 attend to Plaintiffs’ normal affairs and duties for an

 indefinite period of time.
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              WHEREFORE,    plaintiffs,      demand    judgment     for    damages

 against defendant(s) CONAGRA BRANDS, INC., BJ’S WHOLESALE CLUB,

 INC., NICHOLAS SEGEDIN, JOHN DOE 1-10, ABC CORP. 1-10, XYZ CORP.

 1-10, together with interest and costs of suit.



                                   SIXTH COUNT

       1.   Plaintiff repeats each and every allegation of the prior

 counts as though set forth herein at length and make them a part

 hereof.

       2.    Defendants, were aware of the hazard that existed in

 its/their Wellsley Farms Cooking Spray and was/were also aware of

 the danger that was caused by the hazard to the users of its/their

 Wellsley Farms Cooking Spray aerosol can, however, defendants

 failed and refused to design the product so as to eliminate the

 hazard, or to guard against the hazard and danger, and/or to warn

 the users of the hazard and danger and/or failed to recall the

 product.

       3.     Defendant(s) conduct        was/were willful       and wonton       in

 nature and constituted gross negligence and exposed the plaintiff

 and those similarly situated to the plaintiff to serious injury

 and death.

       4.     Defendant(s) knew or should have known of the defects in

 the product and failed to remedy the defect.
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       WHEREFORE, plaintiffs, demand judgment for punitive damages

 against defendant(s) CONAGRA BRANDS, INC., BJ’S WHOLESALE CLUB,

 INC., NICHOLAS SEGEDIN, JOHN DOE 1-10, ABC CORP. 1-10, XYZ CORP.

 1-10, together with interest and costs of suit.

                                     SEVENTH COUNT

       1.    Plaintiff repeats each and every allegation of the prior

 counts as though set forth herein at length and makes them a part

 hereof.

       2.    At all times hereinbefore and hereinafter mentioned,

 plaintiff NICOLA MITAROTONDA, was and still is the spouse of the

 injured plaintiff, YOHANNY POLANCO-MITAROTONDA, and as such is

 entitled to her services, support, society, companionship, love,

 solace and more.

       3.   By reason of the injuries sustained by plaintiff, YOHANNY

 POLANCO-MITAROTONDA,        and    as    a    result    of   the    negligence,

 recklessness     and    carelessness         of   the   defendant     aforesaid,

 plaintiff NICOLA MITAROTONDA, has been and will in the future be

 deprived of her support, society, companionship, love, solace,

 consortium, services and more.

       4.   Plaintiff NICOLA MITAROTONDA, was present for and did

 witness the explosion caused by the defendant’s aforesaid conduct

 and suffered severe emotional distress as a result of witnessing

 her injuries.
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       5.      Plaintiff NICOLA MITAROTONDA, was present when the

 aforesaid defects in the product caused an explosion and suffered

 emotional and conscious pain and suffering as a result.

              WHEREFORE,    plaintiffs,      demand    judgment     for    damages

 against defendant(s) CONAGRA BRANDS, INC., BJ’S WHOLESALE CLUB,

 INC., NICHOLAS SEGEDIN, JOHN DOE 1-10, ABC CORP. 1-10, XYZ CORP.

 1-10, together with interest and costs of suit.



                           DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury as to all issues

 involved herein.

                        DESIGNATION OF TRIAL COUNSEL

       Pursuant to R.4:25-4, HARRIS S. FELDMAN, Esq., has been

 designated as trial counsel in the above matter.

                       DEMAND FOR INSURANCE COVERAGE

       In accordance with R. 4:10-2, defendants are demanded to

 provide a complete copy of their applicable liability insurance

 policies     including     any    excess     or    umbrella     policies     with

 declaration sheets within thirty (30) days of service of this

 Complaint.

                          DEMAND FOR INTERROGATORIES

       Plaintiff demands that defendants answer Form C and Form C(4)

 Uniform Interrogatories, (and the supplemental interrogatories
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 that will be served) within the time prescribed by the Rules of

 Court.

                   REJECTION OF ANY NOTICES OF ALLOCATION

         Plaintiff rejects any Notice of Allocation asserted by any

 defendant,    whether     made     pursuant    to    R.       4:7-5   or    otherwise.

 Plaintiff    insists    that      the    details    upon      which   any    claim   of

 allocation is based be provided to plaintiff in a timely manner in

 discovery as is required by Young v. Latta, 123 N.J. 584 (1991).

                                   CERTIFICATION

         I hereby certify that this matter is not the subject of any

 other    action    pending   in    any    Court     or    a    pending     Arbitration

 proceeding, nor is any other action or Arbitration proceeding

 contemplated.       All parties known to plaintiff at this time who

 should have been joined in this action, have been joined.

                                         BLUME, FORTE, FRIED,
                                         ZERRES & MOLINARI, P.C.
                                         Attorneys for Plaintiff


                                         By________________________
                                                HARRIS S. FELDMAN

 DATED: November 10, 2020
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                        Civil Case Information Statement
 Case Details: ESSEX | Civil Part Docket# L-008057-20

Case Caption: POLANCO-MITAROTONDA YOHANY VS                      Case Type: PERSONAL INJURY
CONAGRA BRANDS, IN                                               Document Type: Complaint with Jury Demand
Case Initiation Date: 11/24/2020                                 Jury Demand: YES - 6 JURORS
Attorney Name: HARRIS SCOTT FELDMAN                              Is this a professional malpractice case? NO
Firm Name: BLUME FORTE FRIED ZERRES & MOLINARI                   Related cases pending: NO
Address: ONE MAIN ST                                             If yes, list docket numbers:
CHATHAM TWP NJ 07928                                             Do you anticipate adding any parties (arising out of same
Phone: 9736355400                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Polanco-Mitarotonda, Yohany
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Yohany Polanco-
                                                                 Mitarotonda? NO
(if known): Unknown

                                                                 Are sexual abuse claims alleged by: NICOLA MITAROTONDA? NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 11/24/2020                                                                                /s/ HARRIS SCOTT FELDMAN
 Dated                                                                                                         Signed
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